 USDC IN/ND case 1:10-cr-00056-WCL-SLC                      document 40     filed 12/15/10      page 1 of 3


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION


UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )
                                                        )
                        v.                              )       CAUSE NO. 1:10-CR-56 WCL
                                                        )
WENDY RAMIREZ                                           )
                                                        )
                                Defendant.              )


                               ACCEPTANCE OF PLEA OF GUILTY,
                                ADJUDICATION OF GUILTY AND
                                   NOTICE OF SENTENCING

        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which the

defendant has waived objection, and subject to this Court's consideration of the Plea Agreement pursuant

to Fed. R. Crim. P. 11, the plea of guilty of the offense charged in Count 3 of the Indictment, is hereby

accepted, and the defendant is adjudged guilty of such offense. The defendant and her counsel shall appear

before the undersigned for sentencing on the 14th day of March, 2011, at 11:30 a.m. Any sentencing

memoranda or motions related to sentencing shall be filed no later than ONE WEEK prior to

sentencing. The attention of the parties is directed to the timetable outlined in the Presentence

Scheduling Notice attached hereto. If counsel are unable to comply with this timetable, they shall obtain

an extension of the filing deadline from the court.

        If objections to the to the pre-sentence report are not timely filed, thereby affording the court an

adequate opportunity to review said objections, the sentencing hearing MUST BE CONTINUED.

Accordingly, if defense counsel wishes to present an objection to the court, and said objection has not been

timely filed, it will be the responsibility of said counsel to file a motion for continuance of the sentencing,
 USDC IN/ND case 1:10-cr-00056-WCL-SLC                document 40       filed 12/15/10     page 2 of 3


and provide to the court a full recitation of the reasons why the objection or objections were not timely

filed.

         IT IS SO ORDERED this 15th day of December, 2010.




                                              /s/William C. Lee
                                              William C. Lee, Judge
                                              United States District Court
 USDC IN/ND case 1:10-cr-00056-WCL-SLC          document 40      filed 12/15/10        page 3 of 3



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION
United States of America,

              vs.                              Criminal No. 1:10-CR-56 WCL

WENDY RAMIREZ

              Defendant.

                            PRESENTENCE SCHEDULING NOTICE


 Date of Referral to Probation Officer:                           November 29, 2010
                                                                  (Date of Plea or Verdict)


 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                             February 7, 2011
                                                                (35 Days Before Sentencing)


 Counsel’s Written Objections or Acknowledgment of
 No Objections to the Pre-Sentence Report Shall be
 Delivered to the Probation Officer and Opposing
 Counsel no Later Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the
 Court and Disclosed to Counsel no Later Than:                       March 4, 2011
                                                                (10 Days Before Sentencing)


 Judgment and Sentencing Date:                                      March 14, 2011
                                                            (At Least 70 Days After Plea or Verdict)


Any sentencing memoranda or motions related to sentencing shall be filed no later than ONE
WEEK prior to sentencing
